335 F.3d 834
    SECURITIES AND EXCHANGE COMMISSION, Plaintiff-Appellee,v.John A. HICKEY, Defendant-Appellant, andMamie Tang, Continental Capital Financial Group, Inc.; Continental Capital Income Fund II; JM Regional, Inc.; Continental Capital Properties I, Inc.; Continental Capital Securities Group, Inc.; Continental Capital Investments, Inc.; Continental Capital Employees, Inc.; Continental Capital Secured Principal With Income Fund I; Continental Capital Private Equity Fund I; D.E. Frey &amp; Company, Inc., Defendants.Securities and Exchange Commission, Plaintiff-Appellee,v.John A. Hickey, Defendant, andJohn Hickey Brokerage, Third Party-Appellant.
    No. 01-17027.
    No. 01-17214.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted November 5, 2002.
    Filed March 7, 2003.
    Amended July 7, 2003.
    
      David J. Cohen, Cohen &amp; Paik, San Francisco, California, for defendant-appellant John A. Hickey.
      Curtis F. Dowling, Dillingham &amp; Murphy LLP, San Francisco, California, for third-party appellant John Hickey Brokerage Co.
      Michael A. Conley and Rada Potts, Securities and Exchange Commission, Washington, D.C., for plaintiff-appellee Securities and Exchange Commission.
      Appeals from the United States District Court for the Northern District of California; William H. Alsup, District Judge, Presiding. D.C. No. CV-94-03336-WHA.
      Before HAWKINS, GRABER, and TALLMAN, Circuit Judges.
    
    ORDER
    
      1
      The slip opinion filed March 7, 2003, is hereby amended as follows:
    
    
      2
      At page 3512, line 7, the text "admitted violating securities laws and" shall be deleted. At page 3513, line 24, the word "no" shall be deleted and replaced by "insufficient." At page 3513, lines 25-27, the following text shall be deleted: "Nonetheless, the district court allowed Hickey's counsel to designate portions of the deposition of Dorothy Hickey for consideration by the court."
    
    
      3
      With these amendments, the panel has voted to deny the petition for panel rehearing. The panel has also voted to deny the petition for rehearing en banc. The full court has been advised of the petition for rehearing en banc and no judge has requested a vote on whether to hear the matter en banc. Fed. R.App. P. 35.
    
    
      4
      The petition for panel rehearing and the petition for rehearing en banc are DENIED. No additional petitions for rehearing will be accepted in this case.
    
    